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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiffs,                             4:16CR3105

      vs.
                                                                ORDER
JESUS BUENO-HERNANDEZ, KARLA
MARRUFO, and ALEJANDRO HERAS-
REAL,

                     Defendants.


      Defendant Heras-Real has moved to continue the pretrial motion deadline,
(Filing No. 91), because Defendant needs additional time to investigate this case
and prepare for trial. The motion to continue is unopposed. Based on the
showing set forth in the motion, the court finds the motion should be granted.
Accordingly,

      IT IS ORDERED:

      1)       Defendant Heras-Real’s motion to continue, (Filing No. 91), is
               granted.

      2)       As to all defendants, pretrial motions and briefs shall be filed on or
               before April 20, 2017.

      3)       As to all defendants, trial of this case remains scheduled to
               commence on May 8, 2017.

      4)       The ends of justice served by granting the motion to continue
               outweigh the interests of the public and the defendant in a speedy
               trial, and as to all defendants, the additional time arising as a result
               of the granting of the motion, the time between today’s date and
               April 20, 2017, shall be deemed excludable time in any computation
               of time under the requirements of the Speedy Trial Act, because
               although counsel have been duly diligent, additional time is needed
               to adequately prepare this case for trial and failing to grant additional
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          time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(1),
          (h)(6) & (h)(7). Failing to timely object to this order as provided under
          this court’s local rules will be deemed a waiver of any right to later
          claim the time should not have been excluded under the Speedy
          Trial Act.

    April 12, 2017.
                                           BY THE COURT:

                                           s/ Cheryl R. Zwart
                                           United States Magistrate Judge




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